            Case:
ILND 450 (Rev.        1:11-cv-01768
               10/13) Judgment                Document
                               in a Civil Action         #: 612 Filed: 06/24/16 Page 1 of 1 PageID #:12978

                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS

PEERLESS INDUSTRIES, INC.,

Plaintiff(s),
                                                                  Case No. 11 CV 1768
v.                                                                Judge Joan Humphrey Lefkow

CRIMSON AV, LLC,

Defendant(s).

                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                 in favor of plaintiff(s)
                 and against defendant(s)
                 in the amount of $       ,

                          which        includes       pre–judgment interest.
                                       does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                 in favor of defendant(s) Crimson AV, LLC
                 and against plaintiff(s) Peerless Industries, Inc.
.
        Defendant(s) shall recover costs from plaintiff(s).


                 other:

This action was (check one):

     tried by a jury with Judge Joan Humphrey Lefkow presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge       on a motion



Date: 6/24/2016                                               Thomas G. Bruton, Clerk of Court

                                                              Michael Dooley , Deputy Clerk
